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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                      Chapter 11
 In re:
                                                      Case No. 23-11131 (TMH)
 Amyris, Inc., et al.,
                                                      (Jointly Administered)
                                 Debtors.             Hearing Date: 1/24/24 at 10:00 a.m.
                                                      Obj. Deadline: 1/18/24 at 5:00 p.m.

                                                      Related Docket No. 892


     OBJECTION OF THE UNITED STATES TRUSTEE TO CONFIRMATION OF
      SECOND AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION

          Andrew R. Vara, United States Trustee for Regions 3 and 9 (“U.S. Trustee”), hereby files

this objection (the “Objection”) to confirmation of the Second Amended Joint Chapter 11 Plan of

Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified (D.I. 892) (the “Plan”). In

support of this Objection, the U.S. Trustee states:

                                 PRELIMINARY STATEMENT

          1.     The Plan leads with a request for approval of non-consensual third-party releases,

with the “fall back” of seeking approval of the releases on a consensual basis. The Plan is

substantially the same in either scenario, with the only substantive difference being de minimis

additional cash consideration if the releases are approved on a non-consensual basis. The non-

consensual releases, therefore, are not necessary to reorganization here because the Plan provides

expressly that it can be confirmed without approval of the non-consensual releases. The Debtors

thus cannot meet their burden of satisfying the exacting standards for the extraordinary relief of

non-consensual releases.

          2.     Even the purported “consensual” third-party releases are not being consented to

by certain categories of creditors. The Plan extinguishes direct claims against non-debtor parties
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held by other non-debtor parties without their affirmative consent, including claims held by:

(i) unimpaired claimants, unless they file an opt out; (ii) all parties who vote to accept the Plan;

(iii) all parties who reject the Plan, unless they also check an opt-out box; (iv) all parties that are

entitled to vote but do not do so, unless they return a ballot with the opt-out box checked; and

(v) parties that are impaired and deemed to reject unless they file an opt out. The opt-out

mechanism provides for negative, rather than affirmative, consent. Affirmative consent is

required. The Plan should not be confirmed absent modification of the “consensual” third-party

release provisions to ensure all third-party releases are, in fact, consensual.

        3.      The third-party releases and exculpation are also both impermissibly broad. The

third-party releases include an overly expansive list of parties being released, including parties

that are not yet in existence. The proposed exculpation covers parties that are not estate

fiduciaries in contravention of Third Circuit law.

        4.       For the reasons set forth above and as more fully set forth below, the U.S.

Trustee requests that confirmation be denied.

                                 JURISDICTION & STANDING

        5.      Under (i) 28 U.S.C. § 1334, (ii) applicable order(s) of the United States District

Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a), and (iii) 28 U.S.C.

§ 157(b)(2), this Court has jurisdiction to hear and determine confirmation of the Plan and this

Objection.

        6.      Pursuant to 28 U.S.C. § 586(a)(3), the U.S. Trustee is charged with administrative

oversight of the bankruptcy system in this District. Such oversight is part of the U.S. Trustee’s

overarching responsibility to enforce the laws as written by Congress and interpreted by the

courts. See United States Trustee v. Columbia Gas Systems, Inc. (In re Columbia Gas Systems,



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Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that the U.S. Trustee has “public interest

standing” under 11 U.S.C. § 307 which goes beyond mere pecuniary interest); Morgenstern v.

Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d 498, 500 (6th Cir. 1990) (describing the U.S.

Trustee as a “watchdog”).

       7.      Pursuant to 28 U.S.C. § 586(a)(3)(B), the U.S. Trustee is charged with

“monitoring plans and disclosure statements filed in cases under chapter 11 of title 11 and filing

with the court, in connection with hearings under sections 1125 and 1128 of such title, comments

with respect to such plans and disclosure statements.” 28 U.S.C. § 586(a)(3)(B).

       8.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on the Plan and

the issues raised in this Objection.

                                   FACTUAL BACKGROUND

       9.      On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each

Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code which

initiated the Chapter 11 Cases. The Debtors are operating their businesses and managing their

properties as debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

       10.     On August 27, 2023, the U.S. Trustee appointed the committee of unsecured

creditors (the “Committee”) pursuant to Bankruptcy Code section 1102(a)(1). The Committee

members are: (i) Cosan U.S. Inc., (ii) U.S. Bank Trust Company, National Association as

Trustee (“U.S. Bank”), (iii) Sartorius Stedim North America, Inc., (iv) Hearst Magazine Media,

Inc., (v) Wiley Companies, (vi) Park Wynwood, LLC, and (vii) Allog Participacoes, Ltda.

       11.     On August 25, 2023, the Debtors filed the Motion Of Debtors For Entry Of An

Order (i) Approving The Combined Disclosure Statement And Plan On An Interim Basis For

Solicitation Purposes Only; (ii) Establishing Procedures For Solicitation And Tabulation Of



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Votes To Accept Or Reject The Combined Disclosure Statement And Plan; (iii) Approving The

Form Of Ballot And Solicitation Packages; (iv) Establishing The Voting Record Date;

(v) Scheduling A Combined Hearing For Final Approval Of The Adequacy Of Disclosures In,

And Confirmation Of, The Combined Disclosure Statement And Plan; And (vi) Granting Related

Relief (D.I. 298) (the “Solicitation Procedures Motion”).

         12.    On November 16, 2023, the U.S. Trustee field the United States Trustee’s

Objection to the Solicitation Procedures Motion (D.I. 742) (the “Disclosure Statement

Objection”). Pursuant to the Disclosure Statement Objection, the U.S. Trustee asserted, among

other things, that solicitation of the Plan should not occur due to the inclusion of the non-

consensual third-party releases.

         13.    On December 23, 2023, the Debtors filed the amended Plan and Disclosure

Statement with Respect to the Plan (D.I. 893) (the “Disclosure Statement”).

         14.    On December 13, 2023, the Court entered the order approving the Solicitation

Procedures Motion (D.I. 897) (the “Disclosure Statement Order”), 1 pursuant to which the Court,

among other things, approved solicitation of the Plan and set the hearing date for confirmation of

the proposed Plan, which is scheduled to be held on January 24, 2024 at 10:00 a.m. (Eastern

Time).




1
 Capitalized terms used herein and not otherwise defined are defined as set forth in the
Disclosure Statement Order.


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                              The Third-Party Release Provisions

       15.     At the Confirmation Hearing, the Debtors will seek approval of the Third-Party

Release based upon the governing standard for approval of non-consensual third-party releases.2

If the Third-Party Release is not approved on a non-consensual basis, the Debtors will seek

approval of the Third-Party Release on a consensual basis. 3 Holders of Allowed Claims who are

also Releasing Parties shall also receive, in exchange for their granting Third-Party Releases, pro

rata distributions of the applicable Third-Party Release Settlement Amounts as set forth in

Article I.A.198 of the Plan. If the Third-Party Releases are approved on a consensual basis, the

Third-Party Settlement Amounts will be (i) $9,264,000 for Holders of Convertible Notes,

(ii) $2,686,000 for Holders of General Unsecured Claims, and (iii) $2,500,000 for Holders of

Interests. If the Third-Party Releases are approved on a non-consensual basis, the Third-Party

Settlement Amounts will be (i) $12,714,000 for Holders of Convertible Notes, 4 (ii) $3,686,000

for Holders of General Unsecured Claims,5 and (iii) $5,000,000 for Holders of Interests. Plan,

Article I.A.198.




2
 See e.g., Disclosure Stmt., p. 4 (“The Debtors will seek approval of the Third-Party Release
based upon the governing standard for approval of non-consensual third party releases.”)
3
 See e.g., id. (“In the event the Bankruptcy Court does not approve the Third-Party Release on a
nonconsensual basis, the Third-Party Release shall be deemed a settlement offer to the holders of
Direct Claims on the terms set forth in the Plan[.]”)
4
 The Debtors estimate an Allowed amount of $690,000,000 in Convertible Note Claims. The
additional $3,450,000 in consideration for non-consensual releases results in an additional
distribution of approximately 0.5% (i.e., less than 1%). Disclosure Stmt., p. 9.
5
 The Debtors estimate an Allowed amount of $200,000,000 in General Unsecured Claims. The
additional $1,000,000 in consideration for non-consensual releases results in an additional
distribution of approximately 0.5% (i.e., less than 1%). Disclosure Stmt., p. 9.
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       16.       The Plan defines “Third-Party Release” as follows:

         “Third-Party Release” means the release of Direct Claims deemed given by
         each of the Releasing Parties to the Released Parties in consideration for the
         distributions to be made as set forth in Article IX.D of the Plan.

Plan, Article I.A.196.


       17.      The Plan defines “Releasing Parties” as follows:

       “Releasing Parties” means collectively, and in each case in its capacity as such: (a) the
       Foris Prepetition Secured Lenders; (b) the Creditors’ Committee; (c) the Consenting
       Convertible Noteholders; (d) the Consenting Contract Counterparties; (e) all Holders of
       Claims against the Debtors that are bound by the Third-Party Release Settlement; and
       (f) all persons who hold Interests in Amyris that are bound by the Third-Party Release
       Settlement.

Plan, Article I.A.175.
       18.      The Plan defines “Direct Claims” as follows:

       “Direct Claims” means any Cause of Action held by a Releasing Party against any of the
       Released Parties (excluding the Debtors) and their respective Related Parties, but only to
       the extent such claims arise from, relate to, or are connected with, directly or indirectly,
       in any manner whatsoever, the Debtors, including their respective assets, liabilities,
       operations, financings, contractual agreements, licenses, and including the governance
       thereof, and existing on or prior to the Effective Date (including prior to the Petition
       Date).

Plan, Article I.A.72.


       19.      The Plan defines the recoveries in connection with the Third-Party Release under

the definition of the “Third-Party Release Settlement Amounts”, which also reflects that an opt-

out procedure is used to measure “consent.”

       “Third-Party Release Settlement Amounts” means, as applicable, the following amounts
       allocated from the Net Proceeds or other assets of the Estates that would otherwise be
       paid to the DIP Lenders and the Foris Prepetition Secured Lenders, as applicable:
             (A) (i) $12,714,000, consisting of that portion of the Third-Party Release Settlement
                 Amounts to be distributed to the Holders of Convertible Notes, if the Third-Party
                 Release Settlement is approved on a non-consensual basis; or (ii) $9,264,000,
                 consisting of that portion of the Third-Party Release Settlement Amounts to be

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                distributed to the Holders of Convertible Notes if the Third-Party Release
                Settlement is not approved on a non-consensual basis and the Direct Claims
                Threshold is satisfied as to holders of Direct Claims who are creditors (but only
                as to holders of Allowed Convertible Notes Claims who do not opt out of the
                Third-Party Release Settlement);

             (B) (i) $3,686,000, consisting of that portion of the Third-Party Release Settlement
                 Amounts distributed to the Holders of General Unsecured Claims, if the Third-
                 Party Release Settlement is approved on a non-consensual basis; or
                 (ii) $2,686,000 consisting of that portion of the Third-Party Release Settlement
                 Amounts distributed to the Holders of General Unsecured Claims if the Third-
                 Party Release Settlement is not approved on a non-consensual basis and the Direct
                 Claims Threshold is satisfied as to holders of Direct Claims who are creditors
                 (but only as to Holders of Allowed General Unsecured Claims who do not opt
                 out of the Third-Party Release Settlement);

             (C) (i) $5,000,000 consisting of that portion of the Third-Party Release Settlement
                 Amounts distributed to the Holders of Interests as of the Voting Record Date, if
                 the Third-Party Release Settlement is approved on a non-consensual basis; or
                 (ii) $2,500,000 consisting of that portion of the Third-Party Release Settlement
                 Amounts distributed to the Holders of Interests as of the Voting Record Date if
                 the Third-Party Release Settlement is not approved on a non-consensual basis and
                 the Direct Claims Threshold is satisfied as to holders of Direct Claims who are
                 holders of any Interests (but only as to Holders of Interests who do not opt out
                 of the Third-Party Release Settlement).


Plan, Article I.A.198 (emphasis added).
       20.      The Plan defines the opt-out process as follows:

       If the Third-Party Releases are not approved by the Bankruptcy Court, each holder of a
       Direct Claim may voluntarily elect to receive its portion of the Third-Party Release
       Settlement Amounts to which it is entitled by electing to grant the Third-Party Releases,
       through the following methods: (x) for (i) holders of Claims who are entitled to submit a
       ballot to vote on the Plan and vote to accept the Plan, (ii) holders of Claims who are
       entitled to submit a ballot to vote on the Plan and (a) vote to reject the Plan or (b) abstain
       from voting on the Plan and, in either case, do not elect to exercise their right to opt out
       of granting the Third-Party Releases, and (y) for holders of Claims and Interests who are
       deemed to accept or reject the Plan and are provided with a notice of non-voting status
       providing them with the right to opt out of granting the Third-Party Releases and do not
       elect to exercise such right; provided, that, as applicable, the Direct Claims Threshold is
       satisfied.

Plan, Article IV.A.3.

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       21.     The Plan defines “Released Parties” as follows:

         “Released Parties” means, collectively, and in each case, solely in their capacities as
         such: (a) the Debtors; (b) the Reorganized Debtors; (c); the DIP Lenders and the DIP
         Agent; (d) the Foris Prepetition Secured Lenders; (e) the Creditors’ Committee; (f) the
         Consenting Convertible Noteholders, (g) the Ad Hoc Group Professionals; (h) the
         Consenting Contract Counterparties; and (i) with respect to each of the foregoing
         Entities in clauses (a) through (e), all Related Parties. For the avoidance of doubt, (i)
         the Debtors’ current and former directors, managers, officers, employees, professionals,
         and shareholders, in each case, who are not an Excluded Party, shall each be a Released
         Party; and (ii) no Excluded Party shall be a Released Party.

Plan, Article I.A.174 (emphasis added).
       22.     The Plan definition of “Related Parties” is expansive:

       “Related Party” means, collectively, with respect to any Entity, in each case in its
       capacity as such with respect to such Entity, such Entity’s current and former directors,
       managers, officers, shareholders, investment committee members, special committee
       members, equity holders (regardless of whether such interests are held directly or
       indirectly), affiliated investment funds or investment vehicles, predecessors, participants,
       successors, assigns (whether by operation of Law or otherwise), subsidiaries, current,
       former, and future associated entities, managed or advised entities, accounts, or funds,
       Affiliates, partners, limited partners, general partners, principals, members, management
       companies, fund advisors or managers, fiduciaries, employees, agents, trustees, advisory
       board members, financial advisors, attorneys, accountants, investment bankers,
       consultants, other representatives, restructuring advisors, and other professionals and
       advisors, and any such person’s or Entity’s respective predecessors, successors, assigns,
       heirs, executors, estates, and nominees.

Plan, Article I.A.172

       23.     The Plan defines “Exculpated Parties”” as follows:

       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the
       Debtors; (b) the Foris Secured Parties; (c) all Consenting Convertible Noteholders;
       (d) the Ad Hoc Group Professionals; (e) the Creditors’ Committee; and (f) the
       Related Parties of each of the foregoing parties.

Plan, Article I.A.101 (emphasis added).




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                                           ARGUMENT
A. The Plan Does Not Meet the Requirements for Non-Consensual Releases.
       24.     In Continental, 203 F.3d 203 (3d Cir. 2000), the Third Circuit surveyed cases

from various circuits as to when, if ever, a non-consensual third-party release is permissible. The

Court acknowledged that some Circuits do not allow such non-consensual releases under any

circumstances. Id. at 212. Other circuits, the Court found, “have adopted a more flexible

approach, albeit in the context of extraordinary cases.” Id. at 212-13 (citing Second Circuit cases

where releases were upheld for “widespread claims against co-liable parties” and a Fourth

Circuit mass tort case). “A central focus of these three reorganizations was the global settlement

of massive liabilities against the debtors and co-liable parties. Substantial debtor co-liable

parties provided compensation to claimants in exchange for the release of their liabilities and

made these reorganizations feasible.” Id. at 213; see also In re Metromedia Fiber Network, Inc.,

416 F.3d 136, 141 (2d Cir. 2005) (noting a third-party release may be granted “only in rare

cases”).

       25.     The Third Circuit in Continental Airlines ultimately determined that the proposed

releases in that case, which enjoined shareholder lawsuits against debtors’ directors and officers,

did “not pass muster under even the most flexible test for the validity of non-debtor releases.”

Continental, 203 F.3d at 214. Therefore, the Court determined that it “need not speculate on

whether there are circumstances under which we might validate a non-consensual release that is

both necessary and given in exchange for fair consideration.” Id. at 214 n. 11 (emphasis added).

However, the Court did describe the “hallmarks of permissible non-consensual releases” to be

“fairness, necessity to the reorganization, and special factual findings to support these

conclusions.” Id. at 214.


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        26.     The Third Circuit Court of Appeals referenced Continental in In re Millennium

Lab Holdings II, LLC., 945 F.3d 126 (3d Cir. 2019), as one of the precedents, along with In re

Global Indus. Techs., Inc., 645 F.3d 201, 206 (3d Cir. 2011), regarding nonconsensual third-

party releases. The Third Circuit indicated that these decisions “set forth exacting standards that

must be satisfied if such releases and injunctions are to be permitted.” 945 F.3d at 139

(emphasis added).

        27.     In In re Genesis Health Ventures, Inc., 266 B.R. 591 (Bankr. D. Del. 2001), the

Court held that a clause in the plan which released claims of any creditors or equity holders

against the senior lenders for any act or omission in connection with the bankruptcy cases and

reorganization process required factual showings under Continental – namely, that the releases

were necessary for the reorganization and were given in exchange for fair consideration. Id. at

607. The Court elaborated that “necessity” under Continental requires a showing: (a) that the

success of the debtors’ reorganization bears a relationship to the release of the non-consensual

non-debtor parties and (b) that the non-debtor parties being released from liability have provided

“a critical financial contribution to the debtors’ plan” in exchange for the receipt of the release.

Id. at 607. A financial contribution is considered “critical” if without the contribution, the

debtors’ plan would be infeasible. Id. Fairness of a release is determined by examining whether

non-consenting non-debtors are receiving reasonable consideration in exchange for the release.

Id. at 608; see also In re Spansion, Inc., 426 B.R. 114, 144 (Bankr. D. Del. 2010) (applying same

factors).

        28.     The Genesis Court found that the senior lenders had made a financial contribution

to the plan, which allowed the debtors to make the 7.34% distribution to the unsecured creditors,

who otherwise would be “out of the money.” Id. at 608. Ultimately, though, the Court found that



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such contribution was not enough, because “even if the threshold Continental criteria of fairness

and necessity for approval of non-consensual third-party releases were marginally satisfied by

these facts … [the] financial restructuring plan under consideration here would not present the

extraordinary circumstances required to meet even the most flexible test for third party

releases.” Id. (emphasis added).

       29.     In the current cases, there is nothing in the record to indicate the presence of

“extraordinary circumstances” -- the high threshold necessary for approval of non-consensual

third-party releases -- with respect to each of the non-debtor parties that would be the recipients

of these non-consensual releases. If the proposed Third-Party Releases are approved, they will

release, among others, the DIP Lenders and the DIP Agent, Foris Prepetition Secured Lenders,

Consenting Convertible Noteholders, the Consenting Contract Counterparties, and parties related

to these entities. Moreover, the anticipated distribution percentages here are even less than in

Genesis, where the Court did not approve the non-consensual releases.

       30.     As to the first Continental requirement, the Debtors readily admit that the non-

consensual release is not of “necessity to the reorganization.” The Plan expressly contemplates

that it can be confirmed without approval of the non-consensual releases. That the Plan allows

for fallback approval of the third-party releases on a consensual basis demonstrates that the non-

consensual releases are not in fact necessary. The success of the Debtors’ reorganization is not

contingent upon approval of non-consensual releases, as the Plan can be confirmed without

approval thereof. Because the Plan provides expressly that it can be confirmed without approval

of the non-consensual releases, ipso facto the non-consensual releases are not necessary.

       31.     As to the second Continental requirement, that the releases be given “in exchange

for fair consideration,” there is no showing that the consideration for the non-consensual release



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is critical (i.e., without it the Plan would be infeasible) or that affected parties are receiving

reasonable consideration in exchange for giving the release. By way of example, the Holders of

General Unsecured Claims will receive consideration of $2,686,000 if the Third-Party Settlement

Releases are approved on a consensual basis. Plan, Article I.A.198. Holders of General

Unsecured Claims will receive consideration of $3,686,000 if the Third-Party Settlement

Releases are approved on a non-consensual basis. Id. Thus, the total consideration to the class

of General Unsecured Claims for a non-consensual release is an extra $1,000,000. The Debtors

provide an estimated Allowed amount of $200,000,000 in General Unsecured Claims. See

Disclosure Statement, p. 9. By extension, Holders of General Unsecured Claims will receive an

additional 0.5% distribution (i.e., less than 1%) as consideration for non-consensual releases.

Other than the de minimis additional cash, the remainder of the Plan remains the same if the non-

consensual releases are not approved. The Debtors therefore have not carried their burden of

demonstrating that a non-consensual Third-Party Release is critical to their reorganization efforts

or is given in exchange for fair consideration.

        32.     The Debtors have the burden of establishing whether the Continental/Genesis

factors have been met for each of the non-debtor Released Parties who are the intended

beneficiaries of the non-consensual third-party releases, including whether the third-party

releases are “both necessary and given in exchange for fair consideration.” Continental, 203

F.3d at 214, n. 11. The Debtors have not carried that burden and the non-consensual third-party

releases should not be approved.




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B. The “Consensual” Releases Are Not Consensual.

        33.     Even the “consensual” versions of the releases do not sufficiently demonstrate

consent. Rather than seeking affirmative consent, the Debtors seek a finding of consent through

silence. In short, the Debtors seek a finding of “consent” where a party fails to opt out rather

than provide an affirmative manifestation of consent.

        34.     The releases would be imposed on (i) unimpaired claimants, unless they file an

opt out; (ii) all parties who vote to accept the Plan; (iii) all parties who reject the Plan, unless

they also check an opt out box; (iv) all parties that are entitled to vote but do not do so, unless

they return a ballot with the opt out box checked; and (v) parties that are impaired and deemed to

reject unless they file an opt out. See Article IV.A.3.

        35.     These releases are not predicated on the affected parties’ affirmative consent and,

thus, are non-consensual. See In re Washington Mutual, Inc., 442 B.R. 314, 355 (Bankr. D. Del.

2011) (holding that an “opt out mechanism is not sufficient to support the third party releases . . .

particularly with respect to parties who do not return a ballot (or are not entitled to vote in the

first place). Failing to return a ballot is not a sufficient manifestation of consent to a third-party

release.”); In re Coram Healthcare Corp., 315 B.R. 321, 335 (Bankr. D. Del. 2004) (holding that

the “Trustee (and the Court) do not have the power to grant a release of the Noteholders on

behalf of third parties,” and that such release must be based on consent of the releasing party);

Emerge Energy Servs. LP, Case No. 19-11563, 2019 Bankr. LEXIS 3717, *52 (Bankr. D. Del.,

Dec. 5, 2019) (consent to give third-party releases cannot be inferred “by the failure of a creditor

or equity holder to return a ballot or Opt-Out Form”); see also Joel Patterson v. Mahwah Bergen

Retail Grp., Inc., 636 B.R. 641, 688 (E.D. Va. 2022) (holding that “the Bankruptcy Court erred

both factually and legally in finding the Third-Party Releases to be consensual. Failure to opt



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out, without more, cannot form the basis of consent to the release of a claim.”); In re SunEdison,

Inc., 576 B.R. 453 (Bankr. S.D.N.Y. 2017) (under principles of New York contract law, a

creditor could not be deemed to consent to third-party releases merely by failing to object to the

plan, even when the disclosure statement made it clear that such a consequence would result);

In re Chassix Holdings, 533 B.R. 64, 79-80 (Bankr. S.D.N.Y. 2015) (limiting third party releases

to those who voted to accept the plan, or affirmatively elected to provide releases; consent would

not be deemed from creditors who failed to return a ballot, or from unimpaired creditors).

       36.     Although not all decisions from this District have required affirmative consent for

third-party releases, those decision are not binding on the Court here. In In re Indianapolis

Downs, LLC, 486 B.R. 286 (Bankr. D. Del. 2013), the Court reached a different conclusion than

that of Emerge, Washington Mutual, and the other cases cited above, concerning the need for

affirmative consent to third party releases. And in In re Spansion, Inc., 426 B.R. 114 (Bankr. D.

Del. 2010), the Court held that affirmative consent was not required, but only as to releases being

given by unimpaired classes who were “being paid in full.” Id. at 144.

       37.     In In re Mallinckrodt PLC, 639 B.R. 837 (Bankr. D. Del. 2022), the Court

allowed third-party releases to be imposed on mass tort claimants without the opportunity to opt

out, as well as on certain other classes of creditors and equity holders who were provided the

ability to opt out, holding that the imposition of such releases was permissible under In re

Continental Airlines, 203 F.3d 203 (3d Cir. 2000), because of the mass tort context of the

case. See id. at 873, 881; see also In re Boy Scouts of America and Delaware BSA, LLC, 642

B.R. 504, 674, 678 (Bankr. D. Del. 2022) (approving an opt out process for third-party releases

in a mass tort case but noting that the definition of parties giving such releases did not include

any “claimant who abstains from voting”). However, here, the Debtors’ cases are not mass tort



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cases. The Debtors core business is the development, commercialization, and manufacture of

rare molecules through proprietary fermentation processes, with a non-core business of clean

beauty brands that utilize the natural and sustainable ingredients that the Debtors produce, and

the Debtors filed due to an inability to meet their capital requirements and to focus their strategy

and go-forward business plan around the Debtors’ core competencies of research, formulation,

and development of ingredients and ingredient applications, commercial scaling, and

commercialization of its sustainable ingredients. Cases that have imposed third-party releases in

the mass tort context therefore are inapposite.

        38.     Requiring affirmative consent from creditors to release their direct claims against

non-debtors is the only way to find true consent, rather than consent assumed by silence, as

silence could be caused by factors such as “carelessness, inattentiveness, or mistake,” as

recognized by this Court in Emerge, 2019 Bankr. LEXIS 3717 at *53.

        39.     A failure to opt out or object is not affirmative consent to the third-party releases.

See In re Washington Mut., 442 B.R. at 355 (holding that opt out was “not sufficient to support

the third party releases . . . particularly with respect to parties who do not return a ballot (or are

not entitled to vote in the first place).”). Consequently, imposing third-party releases on the

affected parties is non-consensual.

        40.     Under the proposed Plan, parties that are deemed to accept or reject the Plan are

deemed to consent to the releases through silence and are required to return an opt-out form

despite the inability to vote. These parties release through inaction. The Plan places the

obligation on them to demonstrate their lack of consent, or opposition. There can be a variety of

reasons for a failure to return an opt out, including the failure to receive the form. Yet silence is

deemed consent.



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       41.     Parties that fail to vote are deemed to consent, notwithstanding that “inaction” is

not a sufficient manifestation of consent to support a release. Silence is deemed acceptance as to

parties that do not vote, without any showing that the parties received the ballots, or if they

received them, that they read and understood them. Consent requires the receipt and

comprehension of information. Inaction is not a sufficient manifestation of consent to support a

release.

       42.     Parties that reject the Plan must take additional action, notwithstanding that

rejection is affirmative manifestation of non-consent to the Plan and the terms set forth therein

(such as the third-party releases). Express and affirmative rejection of the Plan should not be

interpreted as consent to the third-party releases contained therein.

       43.     Parties that accept the Plan appear unable to opt out and must retain counsel to

object to the releases. “Consent” to the Third-Party Releases will be found where “holders of

Claims who are entitled to submit a ballot to vote on the Plan and vote to accept the Plan.” Plan,

Article IV.A.3. There is no mention of the ability to opt out if a voter accepts the Plan. Id.

Forcing entities to bear the cost of demonstrating their disapproval of third-party releases –

which cost may include the expense of employing counsel – is coercive; the failure of such

entities to object does not constitute consent to the third-party releases.

       44.     None of the parties have provided consent consistent with Washington Mutual,

Coram and the other cases cited within this Objection that required affirmative consent for a

third-party release to be deemed consensual.




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C. The Released Parties are Too Expansive.

       45.     The extent of the third-party releases is also too expansive. The Releasing Parties

release the Released Parties, which includes their Related Partes. The parties released therefore

include the Released Parties’

       current and former directors, managers, officers, shareholders, investment committee
       members, special committee members, equity holders (regardless of whether such
       interests are held directly or indirectly), affiliated investment funds or investment
       vehicles, predecessors, participants, successors, assigns (whether by operation of Law or
       otherwise), subsidiaries, current, former, and future associated entities, managed or
       advised entities, accounts, or funds, Affiliates, partners, limited partners, general partners,
       principals, members, management companies, fund advisors or managers, fiduciaries,
       employees, agents, trustees, advisory board members, financial advisors, attorneys,
       accountants, investment bankers, consultants, other representatives, restructuring
       advisors, and other professionals and advisors, and any such person’s or Entity’s
       respective predecessors, successors, assigns, heirs, executors, estates, and nominees.
Plan, Article I.A.174.
       46.     The list is so expansive that the identity of the parties being released is

unknowable. See e.g., the release of “future associated entities.” The list also includes such

broad and vaguely defined terms as “agents,” “consultants,” “other representatives,” and “other

professionals and advisors.” Parties simply cannot consent to a release of unknown and

unknowable parties.

       47.     The Released Parties includes the Reorganized Debtors. As with future

associated entities, the Plan cannot release a party that does not yet exist.

       48.     The Released Parties list also impermissibly includes the Debtors and Creditors’

Committee, both of which are estate fiduciaries. As recognized by this Court in Washington

Mutual, parties who are fiduciaries of the estate are receiving exculpations, and therefore receipt

by such parties of releases are “unnecessary, duplicative and exceed the limits of what they are

entitled to receive” under the exculpations. Washington Mutual, 442 B.R. at 350.


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D.     The Defined Term “Exculpated Parties” Is Too Expansive

       49.     The Exculpated Parties provision includes persons and entities that are not estate

fiduciaries and, therefore, are not entitled to exculpation. See Washington Mut., 442 B.R. at 350-

51 (exculpation limited to estate fiduciaries who have served during the chapter 11 proceeding,

meaning estate professionals, the Committee and their members, and the debtor’s D&Os); see

also In re PWS Holding Corp., 228 F.3d 224, 246 (3d Cir. 2000) (the creditors’ committee, its

members and estate professionals may be exculpated under a plan for their actions in the

bankruptcy case, except for willful misconduct or gross negligence). The Exculpated Parties list

must be limited to the (i) Debtors, (ii) Creditors’ Committee and its members (solely in their

capacity as members of the Committee); and (iii) the Debtors’ officers, directors, and employees

who served in a fiduciary capacity during these chapter 11 cases.

                                         CONCLUSION

       WHEREFORE the U.S. Trustee requests that this Court enter an order (i) denying

confirmation of the Plan in its present form and (ii) granting such other relief that the Court

deems just and proper.

Dated: January 18, 2024                               Respectfully submitted,
       Wilmington, DE
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                                                      REGIONS 3 & 9

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